989 F.2d 493
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sam KING-IVOR, Petitioner-Appellant,v.ATTORNEY GENERAL OF THE STATE OF MARYLAND;  James Rollins,Respondents-Appellees.
    No. 92-6994.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 5, 1993Decided:  March 15, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-91-184-MJG)
      Sam King-Ivor, Appellant Pro Se.
      Thomas Kevin Clancy, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before HALL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Sam King-Ivor seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  KingIvor v. Attorney General of Maryland, No. CA-91-184-MJG (D. Md. Aug. 24, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    